Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page1 of 45

TMU MU Liem CMs alta me cel ater tts

 

United States Bankruptcy Court for the:

DISTRICT OF COLORADO, DENVER DIVISION

Case number (if known) Chapter you are filing under:
@ Chapter 7
O) Chapter 11

0 Chapter 12

CO) Chapter 13 O Check if this is an
amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

The bankruptcy forms use you and Debior / to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would
be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between
them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debfor 2. The same person must be Debtor 1 in all of the
forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more

space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on Susan

 

 

 

 

your government-issued First name First name
picture identification (for

example, your driver's Amina

license or passport). Middle name Middle name
Bring your picture Eliya

 

identification to your meeting

with the trustee. Last name and Suffix (Sr., Jr., II, Il) Last name and Suffix (Sr., Jr., I, WD)

 

2. All other names you have =
used in the last 8 years Susan A. Eliya
FKA Susan A. Ward

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX=XX=3797
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page2 of 45

 

Debtor1 Eliya, Susan Amina
About Debtor 1:
4. Any business names and (1) | have not used any business name or EINs.

Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

FDBA 7373 E. lowa Ave., LLC
FDBA Green Star Rising, Inc.
FDBA JSC Property Group, LLC
FDBA Peak Funding Solutions, LLC
FDBA Peak Property Group, LLC
FDBA So Cal Sun, Inc.

Business name(s)

XX-XXXXXXX
XX-XXXXXXX
XX-XXXXXXX
XX-XXXXXXX
XX-XXXXXXX
XX-XXXXXXX
EIN

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

CJ | have not used any business name or EINs.

 

Business name(s)

 

EIN

 

5.

Where you live

2 Adams St

Apt 705

Denver, CO 80206-5721

Number, Street, City, State & ZIP Code

Denver
County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

If Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

 

County

If Debtor 2's mailing address is different from yours, fill it in
here. Note that the court will send any notices to this mailing
address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

Number, P.O. Box, Street, City, State & ZIP Code

 

Why you are choosing
this district to file for
bankruptcy

Check one:

HM Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

O [have another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

O Over the last 180 days before filing this petition, | have
lived in this district longer than in any other district.

O_s{have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
 

Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page3 of 45

Debtor1 Eliya, Susan Amina Case number (if known)

 

eae te" the Court About Your Bankruptcy Case

 

7. The chapter of the
Bankruptcy Code you are
choosing to file under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
2010)). Also, go to the top of page 1 and check the appropriate box.

@ Chapter 7
O Chapter 11
O Chapter 12
O Chapter 13

 

8. How you will pay the fee

Hs will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money order.
If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
pre-printed address.

(__sIneed to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
Filing Fee in Installments (Official Form 103A).

1 _ ‘I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for No.
bankruptcy within the last
8 years? 0 Yes.
District District of Colorado When Case number 1812620
District When Case number
District When Case number
10. Are any bankruptcy cases J yo
pending or being filed by
a spouse who is not filing (1 Yes.
this case with you, or by
a business partner, or by
an affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
41. Do you rent your BNo Go to line 12.
residence? ,
Cl Yes. Has your landlord obtained an eviction judgment against you?

oO No. Go to line 12.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
 

Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page4 of 45

Debtor1 Eliya, Susan Amina Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership,
or LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

HNo. Go to Part 4.

O Yes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

oHooaa

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code, and are
you a small business
debtor or a debtor as
defined by 11 U.S.C.7 §
1182(1)?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. | am not filing under Chapter 11.

OO No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

O Yes. lam filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and | do

not choose to proceed under Subchapter V of Chapter 11.

O Yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |
choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

Bo.

0 Yes.
What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page5 of 45

Debtor 1

Eliya, Susan Amina

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before you
file for bankruptcy. You
must truthfully check one of
the following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection
activities again.

 

]
| Official Form 101

About Debtor 1:
You must check one:

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment plan,
if any, that you developed with the agency.

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not havea
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

| certify that | asked for credit counseling Oo
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent

circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you were
unable to obtain it before you filed for bankruptcy, and
what exigent circumstances required you to file this
case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you developed,
if any. If you do not do so, your case may be
dismissed.

Any extension of the 30-day deadline is granted only

for cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about oO
credit counseling because of:

0 _—siIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or making
rational decisions about finances.

OO _sCODisability.
My physical disability causes me to be unable
to participate in a briefing in person, by phone,
or through the internet, even after | reasonably
tried to do so.

Ol Active duty.
| am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for
waiver credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if any,
that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if any.

I certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made to
obtain the briefing, why you were unable to obtain it before
you filed for bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is dissatisfied with
your reasons for not receiving a briefing before you filed for
bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must file
a certificate from the approved agency, along with a copy of
the payment plan you developed, if any. If you do not do so,
your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

O_siIncapacity.
| have a mental illness or a mental deficiency that

makes me incapable of realizing or making rational
decisions about finances.

O_sODisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or through
the internet, even after | reasonably tried to do so.

OO Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing about
credit counseling, you must file a motion for waiver of credit
counseling with the court.

page 5

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Pageé of 45

Debtor 1 Eliya, Susan Amina

Case number (if known)

Answer These Questions for Reporting Purposes

 

 

 

16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “incurred by an
you have? individual primarily for a personal, family, or household purpose.”
HH No. Go to line 16b.
O Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
for a business or investment or through the operation of the business or investment.
0 No. Go to line 16c.
lM Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under OlNo. | amnot filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that after gy Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are

any exempt property is
excluded and

paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses No
are paid that funds will be
available for distribution OO Yes
to unsecured creditors?
18. How many Creditorsdo = 4_49 O 1,000-5,000 D 25,001-50,000
— that'you C1 50-99 0 5001-10,000 C1 50,001-100,000
is OD 10,001-25,000 O More than100,000
D 100-199
0 200-999
19. How much do you D $0 - $50,000 0 $1,000,001 - $10 million 0 $500,000,001 - $1 billion

estimate your assets to

a ware DO $50,001 - $100,000

0 $100,001 - $500,000
$500,001 - $1 million

C2) $10,000,001 - $50 million
C1) $50,000,001 - $100 million
C1) $100,000,001 - $500 million

C] $1,000,000,001 - $10 billion
CO $10,000,000,001 - $50 billion
UO More than $50 billion

 

20. How much do you 0 $o - $50,000
estimate your liabilities to [4 $50,001 - $100,000
be? ‘ :

D $100,001 - $500,000
(1 $500,001 - $1 million

$1,000,001 - $10 million

1 $10,000,001 - $50 million
1 $50,000,001 - $100 million
OJ $100,000,001 - $500 million

0 $500,000,001 - $1 billion

1 $1,000,000,001 - $10 billion
O $10,000,000,001 - $50 billion
O) More than $50 billion

 

Sign Below

For you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this document, |
have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

g a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
n fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

 

 

 

ina Eliya Signature of Debtor 2
€ of Debtor 1
July 27, 2020 Executed on
MM/DD/YYYY MM / DD / YYYY
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page? of 45

Debtor 1

Eliya, Susan Amina

Case number (if known)

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed under
Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in

which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the schedules filed with the

Date

‘Daved My Socal

Signature of Attorney for Debtor

David M. Serafin

Printed name

Law Office of David Serafin

“Firm name

501 S Cherry St Ste 1100

Denver, CO 80246-1330
Number, Street, City, State & ZIP Code

Contact phone Email address

33686

Bar number & State

 

July 27, 2020

 

MM /DD/YYYY

david@davidserafinlaw.com

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 7

 

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Pages of 45

MUM UL Mem OMe Mm cele mer eR CR ETE
Debtor 1 Susan Amina Eliya
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number O Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

OI No. Go to Part 2.

WM Yes. Where is the property?

 

 

 

 

 

 

14 What is the property? Check all that apply
2 Ad St Apt 705 01 Single-family home Do not deduct secured claims or exemptions. Put
ams pt cantik baila the amount of any secured claims on Schedule D:
Duplex or multi-unit buildin i ;
Street address, if available, or other description Oo P 9 Creditors Who Have Claims Secured by Property.
| Condominium or cooperative
Manufactured or mobile home
Current value of the Current value of the
Denver CO 80206-5721 O Land entire property? portion you own?
City State ZIP Cade C1 Investment property $385,000.00 $385,000.00
C1 Timeshare Describe the nature of your ownership interest
O other ———“‘(C*C*C+(( Such as fee imple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
Hi Debtor 1 only Fee Simple
Denver O bebtor 2 only
Coun
¥ O1 Debtor 1 and Debtor 2 only oO Check if this is community property
01 Atleast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
Official Form 106A/B Schedule A/B: Property page 1

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page9 of 45

 

 

 

 

 

 

Debtor 1 Eliya, Susan Amina Case number (if known)
If you own or have more than one, list here:
1.2 What is the property? Check all that apply
. HB Single-family home Do not deduct secured claims or exemptions. Put
7373 E lowa Ave Unit 1146 Oapiex or mulikent duNaing the amount of any secured claims on Schedule D:
Street address, if available, or other description O Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(0 Manufactured or mobile home
Current value of the Current value of the
Denver CO 80231-5608 O Land entire property? portion you own?
City State ZIP Code C1 Investment property $300,000.00 $300,000.00
Timeshare
O Timeshar Describe the nature of your ownership interest
1 Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
[Debtor 1 only Fee Simple
Denver O debtor 2 only
County oO Debtor 1 and Debtor 2 only
Oo Check if this is community property
HH Atleast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

(Debtor not on mortgage loan.)

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, eevee aw's entries for pages
you have attached for Part 1. Write that number here... ai scaisua vubaacciaisuslsaueisaannbancavuasaaieveee sei?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

$685,000.00

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

 

 

 

 

 

O No
Mi Yes
, Do not deduct secured claims or exemptions. Put
ee
3.1. Make: J p Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: Grand Cherokee 4WD BF pebtor 1 only Creditors Who Have Claims Secured by Property.
Yer: 2014 D Debtor 2 only Current value of the Current value of the
Approximate mileage: 90000 0 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: 0 Atleast one of the debtors and another
UO) Check if this is community property $4,500.00 $4,500.00
(see instructions)
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
BNo
0 Yes
5 Add the dollar value of the portion you own for all of your entries from Part 2, 2, Including = entries for pages $4,500.00
you have attached for Part 2. Write that number here... ssecassuvseauarsenssasearysenness a ed ’
Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured

claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 2

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page10 of 45

Debtor1 Eliya, Susan Amina Case number (if known)

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

CJ No
Ml Yes. Describe...

 

Furniture, bedroom, kitchen, books/pictures, two TVs, two
computers, cell phones, golf clubs, pair of skis, road bike, grill $3,000.00

 

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

BNo
OO Yes. Describe.....

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
collections, memorabilia, collectibles

BNno
0 Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
instruments

BNo
C] Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

BNno
D Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

O No
Mi Yes. Describe.....

 

| Clothing $2,000.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

O No
MM Yes. Describe.....

 

[Wedding ring, gold earrings, old watch, misc costume jewelry $500.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

BNo
0 Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
BNo

0 Yes. Give specific information.....

 

15. Add the dollar value of all of youre entries from Part 3, including any entries for pages you have attached for $5,500.00
Part 3. Write that number here .. sai auceeeaunea Gnas cedessitescoussuonsssisoqepesessseneicanssnesee ’ :

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 3

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page11 of 45

Debtor1 Eliya, Susan Amina Case number (if known)

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

BNo
[DVB ccc ceceosescccandeec it SEN caecue eee

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
ONo

Byes Institution name:

17.1. Checking Account Bank of the West (personal account) $3,600.00

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Bi No

O Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

 

 

 

 

 

 

ONo

Hi ves. Give specific information about them....................
Name of entity: % of ownership:
Partnership interest in 7373 E. lowa Ave., LLC 16.67 % $8,335.00
Partnership interest in Green Star Rising, Inc. 0.00 % $0.00
Partnership interest in Peak Property Group,
LLC (no longer owned by Debtor) 51.00 % $0.00
Partnership interest in So Cal Sun, Inc. 50.00 % $0.00

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

BNo
0 Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

BNo

CO Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

Bno

DVS. coceccccceseeseeeeeee Institution name or individual:

23. Annulties (A contract for a periodic payment of money to you, either for life or for a number of years)

BNo
DD Yes... Issuer name and description.

24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

BNo

O Yes Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
HNo

Official Form 106A/B Schedule A/B: Property page 4

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Debtor 1 Eliya, Susan Amina Case number (if known)
1 Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

No

UO Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

MNno
O Yes. Give specific information about them...

Money or property owed to you?

28. Tax refunds owed to you
Bno
OO Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support

Page12 of 45

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

BNo

OO Yes. Give specific information......

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;

unpaid loans you made to someone else
BNo
O Yes. Give specific information..
31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
BNo

CO Yes, Name the insurance company of each policy and list its value.
Company name: Beneficiary:

32. Any interest in property that is due you from someone who has died

Surrender or refund
value:

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has

died.
HNo

O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

0 No

Yes. Describe each claim.........

 

Claim against contractor (now deceased) - very likely not

 

 

 

 

collectible $5,000.00

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

BNo

0 Yes. Describe each claim.........
35. Any financial assets you did not already list

HNo

O Yes. Give specific information.

page 5

Official Form 106A/B Schedule A/B: Property

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page13 of 45

Debtor 1 Eliya, Susan Amina Case number (if known)

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
Part 4. Write that number here... wieejorns nuliahie Sasa an ES $16,935.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
WH No. Go to Part 6.
CO Yes. Go to line 38.

rane Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Hl No. Go to Part 7.
1 Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

BNo

C Yes. Give specific information.........

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number Here ...........sscssseeeseseseeees $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, lime 2 .......sssssesccceesssssssnseeenensenserersessnnssenesessseseeaneneuansesensuneasnansnsnnenecasnsnesssnsnnrennases® $685,000.00
56. Part 2: Total vehicles, line 5 $4,500.00

57. Part 3: Total personal and household items, line 15 $5,500.00

58. Part 4: Total financial assets, line 36 $16,935.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $26,935.00 | Copy personal property total $26,935.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $711,935.00
Official Form 106A/B Schedule A/B: Property page 6

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Debtor 1

Fill in this information to identify your case:

Susan Amina Eliya

First Name

Debtor 2

(Spouse if, filing)

United States Bankruptcy Court for the:

Middle Name

Last Name

 

First Name

Middle Name

Last Name

DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known)

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt

Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page14 of 45

OO Check if this is an
amended filing

4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

GERSHEE Identify the Property You Claim as Exempt

he

Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

OQ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption.

Specific laws that allow exemption

 

 

 

 

Schedule A/B
Colo. Rev. Stat. §§
385,000.00 75,000.00
2 Adams St Apt 705 ___ $385,000.00 = $75,000.00 38-41-201(a), 38-41-201.6,
Denver CO, 80206-5721 O 400% of fair market value, up to 38-41-202
County : Denver any applicable statutory limit
Line from Schedule A/B: 1.1
Furniture, bedroom, kitchen, 3,000.00 $3,000.00 Colo. Rev. Stat. §
books/pictures, two TVs, two $3, 1 3-54-102(1) (2)
computers, cell phones, golf clubs, O 100% of fair market value, up to
pair of skis, road bike, grill any applicable statutory limit
Line from Schedule A/B: 6.1
Clothing 2 000.00 2000.00 Colo. Rev. Stat. §
Line from Schedule A/B: 11.1 52, mC 000.00 13-54-102(1)(a)
O 400% of fair market value, up to
any applicable statutory limit
Wedding ring, gold earrings, old $500.00 $500.00 Colo. Rev. Stat. §
watch, misc costume jewelry 13-5 4-102(1)(b)
Line from Schedule A/B: 12.1 O 400% of fair market value, up to
any applicable statutory limit
Bank of the West (personal account) $3,600.00 & $2,700.00 Colo. Rev. Stat. §§

Line from Schedule A/B: 17.1

O  1400% of fair market value, up to
any applicable statutory limit

13-54-104(2)(A), 5-5-105,
5-5-106

 

Official Form 106C

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Schedule C: The Property You Claim as Exempt

page 1 of 2

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page15 of 45

Debtor1 Eliya, Susan Amina Case number (if known)

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

BH No
O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
O Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page1é6 of 45 |

Fill in this information to identify your case:

Debtor 1 Susan Amina Eliya
First Name Middle Name Last Name

 

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) OO Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).

1. Do any creditors have claims secured by your property?
1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
I Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

| fi
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately aan Canes cole:
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor 's name. Do not deduct the that supports this portion
value of collateral. claim lf any
[2.1 | Citadel Servicing Describe the property that secures the claim: $314,414.32 $385,000.00 $0.00
Creditors: Name 2 Adams St Apt 705, Denver, CO
80206-5721

15707 Rockfield Blvd Ste As of the date you file, the claim is: Check all that

320 apply

Irvine, CA 92618-2874 oO Contingent

Number, Street, City, State & Zip Code DC unliquidated

Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Wi bebtor 1 only Ban agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
D Debtor 1 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's lien)
C1 At least one of the debtors and another O Judgment lien from a lawsuit
C1 Check if this claim relates to a WF other (including a right to offset)
community debt

Date debt was incurred 3/2016 Last 4 digits of account number 3082
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 3

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page17 of 45

Debtor1 Susan Amina Eliya

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
22 Crestmoor Property
“ | Mamt. Describe the property that secures the claim: $0.00 $385,000.00 $0.00
Gredhor's Name 2 Adams St Apt 705, Denver, CO
80206-5721
As of the date you file, the claim is: Check all that
90 Madison St Ste 101 sot you crete NEE NS
Denver, CO 80206-5410 oO Contingent
Number, Street, City, State & Zip Code 0 unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
a Debtor 1 only Ban agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only @ Statutory lien (such as tax lien, mechanic's lien)
OD At least one of the debtors and another oO Judgment lien from a lawsuit
DO Check if this claim relates to a WB Other (including a right to offset) HOA
community debt
Date debt wasincurred 3/2016 Last 4 digits of account number 3082
[23 | Gateway One Lending Describe the property that secures the claim: $5,003.22 $4,500.00 $503.22
Crectiors Name 2014 Jeep Grand Cherokee 4WD
a . As of the date you file, the claim is: Check ail that
175 N Riverview Dr apply. y sexes
Anaheim, CA 92808-1225 O contingent
Number, Street, City, State & Zip Code D0 unliquidated
1 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
WH pebtor 1 only Ban agreement you made (such as mortgage or secured
0 Debtor 2 only car loan)
O Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
DO Atleast one of the debtors and another Judgment lien from a lawsuit
OO Check if this claim relates to a WH other (including a right to offset)
community debt
Date debt was incurred 7/2015 Last 4 digits of account number 4919
2.4 |Mohr Capital Describe the property that secures the claim: $125,000.00 $385,000.00 $54,414.32
Grecliors hae 2 Adams St Apt 705, Denver, CO
80206-5721
191 University Blvd Unit As of the date you file, the claim is: Check all that
227 apply.
Denver, CO 80206-4613 O contingent
Number, Street, City, State & Zip Code oO Unliquidated
| Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
@ Debtor 1 only Ban agreement you made (such as mortgage or secured
D Debtor 2 only car Joan)
D1 Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
D1 Atleast one of the debtors and another Oo Judgment lien from a lawsuit
O Check if this claim relates to a WB other (including a right to offset) Secured working capital loan
community debt
Date debt was incurred 2016 Last 4 digits of account number NA
Add the dollar value of your entries in Column A on this page. Write that number here: $444,417.54
Official Form 106D Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property page 2 of 3

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page18 of 45

 

 

Debtor1 Susan Amina Eliya Case number (f known)
First Name Middle Name Last Name
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $444,41 7.54

List Others to Be Notified for a Debt That You Already Listed

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

Official Form 106D Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property page 3 of 3

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page19 of 45

Fill in this information to identify your case:

Debtor 1 Susan Amina Eliya
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) OO Check if this is an
amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other Party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

 

a No. Go to Part 2.
O ves.

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

OI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
ay Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is, Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part

 

 

 

 

 

 

2.
Total claim
4.1 9 Figure Assets LLC Last 4 digits of account number NA $50,000.00
Nonpriority Creditor's Name
ATTN: Jeff Baker When was the debt incurred? 2015-16
2422 Champa St
Denver, CO 80205-2622
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
01 Debtor 1 only oO Contingent
0 Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only I Disputed
i At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0) Cheek if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino 0 Debts to pension or profit-sharing plans, and other similar debts
O yes I other. Specity Business debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 14

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Debtor1 Eliya, Susan Amina

Case number (f known)

 

 

 

Page20 of 45

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 Alltran Financial, LP Last 4 digits of accountnumber 6977 $6,522.71
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 722910
Houston, TX 77272-2910
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only D1 Contingent
OD Debtor 2 only 01 unliquidated
0 Debtor 1 and Debtor 2 only O Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O) Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
O yes Hi other. Specify Collection
Aloha Capital, LLC Last 4 digits of account number 0695 $736,856.13
Nonpriority Creditors Name
When was the debt incurred? 10/2015
2525 Arapahoe Ave Ste E4-259
Boulder, CO 80302-6720
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only D1 contingent
D1 Debtor 2 only 1 unliquidated
O1 Debtor 1 and Debtor 2 only o Disputed
I At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0) Check if this claim is for a community C) student loans
debt 1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno CI Debts to pension or profit-sharing plans, and other similar debts
O yes WH other. Specify Default judgment RE business debt
4.4 American Express Last 4 digits of accountnumber 1007 unknown
Nonpriority Creditor’s Name
When was the debt incurred?
PO Box 650448
Dallas, TX 75265-0448
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB bebtor 1 only D1 Contingent
O1 Debtor 2 only 00 unliquidated
0 Debtor 1 and Debtor 2 only O Disputed
O Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community O1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C Debts to pension or profit-sharing plans, and other similar debts
O ves a Other. Specify Credit card
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 14

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Debtor 1 Eliya, Susan Amina

Page21 of 45

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.5 Ameriprise Card Services Last 4 digits of accountnumber 7328 $19,139.27
Nonpriaority Creditor’s Name
When was the debt incurred?
PO Box 13337
Philadelphia, PA 19101-3337
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only O contingent
O debtor 2 only Oo Unliquidated
DO Debtor 1 and Debtor 2 only oO Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O Debts to pension or profit-sharing plans, and other similar debts
O ves WI other. Specify Credit card
4.6 Bank Of America Last 4 digits ofaccountnumber 0383 $19,038.38
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 105576
Atlanta, GA 30348-5576
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 1 only Oo Contingent
0 Debtor 2 only 0 unliquidated
O Debtor 1 and Debtor 2 only O Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is fora community CI student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C1 Debts to pension or profit-sharing plans, and other similar debts
O ves WH other. Specify Credit cards
47 Card Services Last 4 digits of account number 7328 $19,000.00
Nonpriority Creditors Name
When was the debt incurred?
PO BOX 8801
Wilmington, DE 19899
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B pebtor 1 only oO Contingent
C1 Debtor 2 only D1 Uniiquidated
0 Debtor 1 and Debtor 2 only O Disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 Student toans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno 0 Debts to pension or profit-sharing plans, and other similar debts
0 Yes WH other. Specify Credit card
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 14

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Debtor 1 Eliya, Susan Amina

Page22 of 45

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.8 Cardmember Service Last 4 digits of account number 4267 $25,142.52
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 6294
Carol Stream, IL 60197
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MH Debtor 1 only D1 contingent
O1 Debtor 2 only 0 unliquidated
O1 Debtor 1 and Debtor 2 only oO Disputed
CD At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D Check if this claim is for a community D7 student loans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno OU Debts to pension or profit-sharing plans, and other similar debts
O ves MM other. Specify Credit card
4.9 Castle Resources Last 4 digits of account number NA $90,000.00
Nonpriority Creditors Name
When was the debt incurred? 2015
PO BOX 7154
Fairfax Station, VA 22039
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ bebtor 1 only Oo Contingent
O Debtor 2 only oO Unliquidated
O Debtor 4 and Debtor 2 only Oo Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is for a community C1 student loans
debt (1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1) Debts to pension or profit-sharing plans, and other similar debts
Oo Yes a Other. Specify Business debt
4.10 Citi Cards Last 4 digits of account number 3523 $17,000.00
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 6190
Sioux Falls, SD 57117-6190
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB pebtor 1 only O1 contingent
0 Debtor 2 only 0 unliquidated
C1 Debtor 1 and Debtor 2 only 0 Disputed
(1 At east one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNo O Debts to pension or profit-sharing plans, and other similar debts
O ves HB other. Specify Credit cards
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 14

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Debtor 1 Eliya, Susan Amina

 

 

Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page23 of 45

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4.11 City of Chicago Last 4 digits of accountnumber 578L $1,242.14
Nonpriority Creditor's Name
Dept. of Finance When was the debt incurred?
PO Box 71429
Chicago, IL 60694-1429
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ Debtor 1 only O1 contingent
O Debtor 2 only oO Unliquidated
O Debtor 1 and Debtor 2 only D1 disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is for a community O) student loans
debt DQ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No D Debts to pension or profit-sharing plans, and other similar debts
0 Yes other. Specity Collection for fee for unpaid weeds
Colorado Dept. of Public Health

4.12) and Env. Last 4 digits of account number NA $20,000.00
Nonpriority Creditor's Name

When was the debt incurred? 2018

4300 Cherry Creek Dr S
Denver, CO 80012
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
0 Debtor 1 only C1 contingent
C1 Debtor 2 only 1 unliquidated
01 Debtor 1 and Debtor 2 only O pisputed
i At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0) Check if this claim is fora community D1 Student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno DO Debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. Specify Business debt

4.13 David Ennis Last 4 digits of accountnumber NA $30,000.00
Nonpriority Creditor's Name

When was the debt incurred? 2016-17

3800 Buchtel Blvd Unit 102683
Denver, CO 80250-7597
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ pebtor 1 only UO Contingent
0 Debtor 2 only oO Unliquidated
O1 Debtor 1 and Debtor 2 only 0 Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community CI Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
|_| No D1 Debts to pension or profit-sharing plans, and other similar debts
O yes MH other. Specity Business debt

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5of 14

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page24 of 45

Debtor 1 Eliya, Susan Amina

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.14] David Hou Last 4 digits of accountnumber NA $50,000.00
Nonpriority Creditor's Name
When was the debt incurred? 2015
1223 Chelsen Cross
Mechanicsville, PA 18934
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi bebtor 1 only 0 Contingent
0 Debtor 2 only O Unliquidated
OO Debtor 1 and Debtor 2 only D1 Disputed
OD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno CO Debts to pension or profit-sharing plans, and other similar debts
O ves Ml other. Specify Business debt
415) Frontier Communications Last 4 digits of accountnumber 2155 $353.80
Nonpriority Creditors Name
When was the debt incurred?
PO Box 740407
Cincinnati, OH 45274
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W pebtor 1 only D1 Contingent
O1 Debtor 2 only oO Unliquidated
01 Debtor 1 and Debtor 2 only oO Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community CO) student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino 0 Debts to pension or profit-sharing plans, and other similar debts
O ves MM other. Specity Collection
4.16 Gene Haun Last 4 digits of accountnumber NA $150,000.00
Nonpriority Creditor's Name
When was the debt incurred? 2015
1071 El Solyo Ave
Campbell, CA 95008-3333
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only DO contingent
CI Debtor 2 only 0 unliquidated
O Debtor 1 and Debtor 2 only | Disputed
a At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt CD Obligations arising out of a separation agreement or divorce that you did nat
Is the claim subject to offset? report as priority claims
Bno 0 Debts to pension or profit-sharing plans, and other similar debts
O yes Mother. Specify Business debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 14

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page25 of 45

Debtor 1 Eliya, Susan Amina

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 417 Guaranty Bank Last 4 digits of account number 1835 $8,000.00
Nonpriority Creditors Name
When was the debt incurred?
175 New Roads St
New Roads, LA 70760-3551
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WE Debtor 1 only D Contingent
0 Debtor 2 only oO Unliquidated
1 Debtor 1 and Debtor 2 only O bisputed
DO At least one of the deblors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community D Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B No CZ) Debts to pension or profit-sharing plans, and other similar debts
O yes W other. Specify Credit card
4.18 Irma Martinez Last 4 digits of accountnumber WA $1 50,000.00
Nonpriority Creditor’s Name
When was the debt incurred? 2015
160 Harris Dr
Austin, TX 78737-4605
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB bebtor 1 only C1 Contingent
O Debtor 2 only DO unliquidated
O Debtor 1 and Debtor 2 only ia Disputed
D At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community CU student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No 0 Debts to pension or profit-sharing plans, and other similar debts
O yes i other. Specity Business debt
4.19] Jim Shires Last 4 digits of accountnumber nown $70,000.00
Nonpriority Creditor's Name
When was the debt incurred? 2013
108 Thomas Cartwright
Williamsburg, VA 23185-8904
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB bebtor 1 only DO Contingent
0 Debtor 2 only D unliquidated
0 Debtor 1 and Debtor 2 only oO Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community C1 Student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No DO Debts to pension or profit-sharing plans, and other similar debts
O ves MH other. Specify Business debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 14

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Debtor 1 Eliya, Susan Amina

Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page26 of 45

Case number (f known)

 

4.20) JR& Jacqueline Skinner

Nonpriority Creditor's Name

4747 Expedition Dr
Colorado Springs, CO 80911-3105

 

Number Street City State Zip Code
Who incurred the debt? Check one.

Wi bebtor 1 only

O Debtor 2 only

O1 Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

O Check if this claim is for a community
debt
Is the claim subject to offset?

 

Last 4 digits of accountnumber NA $15,000.00

When was the debt incurred? 2017-18

 

As of the date you file, the claim is: Check all that apply

Oo Contingent

0 unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:
1 student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

Bino O Debts to pension or profit-sharing plans, and other similar debts
O yes @ other. Specify Business debt
4.21 Kim Korthuis Last 4 digits of account number NA $0.00
Nonpriority Creditors Name
When was the debt incurred? 3/2015
105 Lesley Dr
Saltillo, MS 38866-6983
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
i bebtor 1 only OD Contingent
OO Debtor 2 only O Unliquidated
DO Debtor 1 and Debtor 2 only a Disputed
C1 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is fora community C student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno D1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes Mi other. Specify Business debt
4.22 Kip Korthuis Last 4 digits of accountnumber WA $0.00

 

Nonpriority Creditor's Name

2 Adams St Apt 205

Denver, CO 80206-5725
Number Street City State Zip Code

Who incurred the debt? Check one.

WB bebtor 1 onty

01 Debtor 2 only

CO Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

O) Check if this claim is for a community
debt
Is the claim subject to offset?

Mino
O yes

When was the debt incurred? 3/2015

 

As of the date you file, the claim is: Check all that apply

Oo Contingent

O Unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
0 Student ioans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

W other. Specity Business debt

 

 

Official Form 106 E/F

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Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 14

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Debtor 1 Eliya, Susan Amina

Case number (f known)

Page27 of 45

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.23] Lou Barragan Last 4 digits of account number NA $90,000.00
Nonpriority Creditor's Name
When was the debt incurred?
2140 E Pebble Rd Ste 140
Las Vegas, NV 89123-3206
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only O contingent
CI Debtor 2 only 0 untiquidated
O1 Debtor 1 and Debtor 2 only oOo Disputed
i at least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
O yes WH other. Specity Business debt
4.24) Loyd/Cynthia Stroup Last 4 digits of account number NA $20,000.00
Nonpriority Creditors Name
When was the debt incurred?
6100 Indian School Rd Ste 215
Albuquerque, NM 87101
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O1 Debtor 1 only O Contingent
O Debtor 2 only oO Unliquidated
CO Debtor 1 and Debtor 2 only BB pisputed
I atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is fora community CO student loans
debt 1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No D1 Debts to pension or profit-sharing plans, and other similar debts
O ves @ other. Specity Business debt
4.25| Midland Loan Servicing Last 4 digits of account number 5165 $350,000.00
Nonpriority Creditors Name
When was the debt incurred? 3/2015
10851 Mastin Ste 7000 Bldg 82
Overland Park, KS 66013
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
OO Debtor 1 only oO Contingent
C1 Debtor 2 only 0 unliquidated
0 Debtor 1 and Debtor 2 only Oo Disputed
@ t least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community CI student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
O ves MH other. Specify Business debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 14

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Debtor 1

Eliya, Susan Amina

 

 

Page28 of 45

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

4.26] Montgomery, Little & Soran, PC Last 4 digits of accountnumber nown unknown
Nonpriority Creditor's Name
On behalf of Kip Korthuis When was the debt incurred?
5445 Dtc Pkwy Ste 800
Greenwood Village, CO 80111-3053
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only Oo Contingent
oO Debtor 2 only O Unliquidated
0 Debtor 1 and Debtor 2 only IB pisputea
at least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
ug No 0 Debts to pension or profit-sharing plans, and other similar debts
O ves W other. Specify Business debt
4.27 Moritz Law, LLC Last 4 digits of account number WA $55,000.00
Nonpriority Creditor's Name
on behalf of Landen Solutions, Inc. When was the debt incurred? 2014
3570 E 12th Ave
Denver, CO 80206-3434
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi pebtor 1 only O Contingent
O1 Debtor 2 only C1 unliquidated
01 Debtor 1 and Debtor 2 only E Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O01 Check if this claim is for a community C) student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bo DO Debts to pension or profit-sharing plans, and other similar debts
O Yes WB other. Specify Business debt
4.28] New Direction IRA Last 4 digits of account number nown $250,000.00
Nonpriority Creditor's Name
ATTN: Steven Bein When was the debt incurred? 6/2018
1070 W Century Dr

Louisville, CO 80027-1655
Number Street City State Zip Code

Who incurred the debt? Check one.

B bebtor 1 only

O Debtor 2 only

O Debtor 1 and Debtor 2 only

DO Atieast one of the debtors and another

O Check if this claim is for a. community
debt
Is the claim subject to offset?

a No
O ves

As of the date you file, the claim is: Check all that apply

oO Contingent

0 unliquidated

= Disputed

Type of NONPRIORITY unsecured claim:
O Student toans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

other. Specity Business debt

 

Official Form 106 E/F

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 10 of 14

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page29 of 45

Debtor 1 Eliya, Susan Amina

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

4.29] Preferred Trust IRA Last 4 digits of accountnumber nown $1,000,000.00
Nonpriority Creditor’s Name
When was the debt incurred?
2140 E Pebble Rd Ste 140
Las Vegas, NV 89123-3206
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
oO Debtor 1 only Oo Contingent
D1 Debtor 2 only 0 unliquidated
D1 Debtor 1 and Debtor 2 only WB bisputea
WH at least one of the debtors and another Type of NONPRIORITY unsecured claim:
1 check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino OO Debts to pension or profit-sharing plans, and other similar debts
0 yes WH other. Specity Business debt
4.30! Radius Global Solutions, LLC Last 4 digits of account number 8881 $14,632.04
Nonpriority Creditors Name
When was the debt incurred?
PO Box 390905
Minneapolis, MN 55439-0905
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ Debtor 1 only Oo Contingent
O Debtor 2 only D unliquidated
D1 Debtor 1 and Debtor 2 only oO Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OC Check if this claim is for a community C1 Student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No D1 Debts to pension or profit-sharing plans, and other similar debts
O yes Wi other. Specify Collection
4.31 Randall W.B. Purvis, Esq. Last 4 digits of accountnumber 0818 $88,000.00

 

Nonpriority Creditor's Name
on behalf of Tamra Moss
1119 W Colorado Ave

Colorado Springs, CO 80904-4329
Number Street City State Zip Code

Who incurred the debt? Check one.

QO Debtor 1 only

CO Debtor 2 only

C1 Debtor 1 and Debtor 2 only

i at least one of the debtors and another

O1 Check if this claim is for a. community
debt
Is the claim subject to offset?

Mino
O ves

When was the debt incurred? 2014-15

 

As of the date you file, the claim is: Check all that apply

Oo Contingent

D1 unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
OO student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO Debts to pension or profit-sharing plans, and other similar debts

i other. Specify Judgment in favor of Tamra Moss

 

 

Official Form 106 E/F

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 11 of 14
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Debtor 1 Eliya, Susan Amina

 

 

Page30 of 45

Case number (f known)

 

 

 

 

 

 

 

 

 

4.32] Roy Lyons Last 4 digits of account number NA $22,000.00
Nonpriority Creditor's Name
When was the debt incurred?
2140 E Pebble Rd Ste 140
Las Vegas, NV 89123-3206
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only oO Contingent
C1 debtor 2 only DO unliquidated
0] Debtor 1 and Debtor 2 only oO Disputed
I at least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C7 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No OU Debts to pension or profit-sharing plans, and other similar debts
OD yes Wi other. Specify
4.33 TJ Blevens Last 4 digits of account number WA $50,000.00
Nonpriority Creditor's Name
When was the debt incurred?
1267 S Bryant St
Denver, CO 80219-4266
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
0 Debtor 1 only oO Contingent
OD) Debtor 2 only D unliquidated
O1 Debtor 1 and Debtor 2 only 1 pisputed
Wl At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community CJ student loans
debt oO Obligations arising out of a separation agreement ar divorce that you did not
Is the claim subject to offset? report as priority claims
Biino CO Debts to pension or profit-sharing plans, and other similar debts
0 yes WH other. Specify Business debt
4.34 USAA Last 4 digits of account number 5561 $6,395.32

 

Nonprority Creditor's Name

10750 W Interstate 10
San Antonio, TX 78288-1600

 

Number Street City State Zip Code
Who incurred the debt? Check one.

Wi bebtor 1 only

O Debtor 2 only

O Debtor 1 and Debtor 2 only

0 Atleast one of the debtors and another

O) Check if this claim is for a community
debt
Is the claim subject to offset?

a No
DO Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
DO unliquidated

OD pisputed
Type of NONPRIORITY unsecured claim:

CO student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

other. Specity Credit card

 

 

Official Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Claims

Page 12 of 14

 
Debtor 1

Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38

Eliya, Susan Amina

Case number (f known)

 

[435] USAA

Nonpriority Creditor's Name

10750 McDermott Fwy

San Antonio, TX 78288-0002
Number Street City State Zip Code

Who incurred the debt? Check one.
a Debtor 1 only

C1 Debtor 2 only

01 Debtor 1 and Debtor 2 only

Page31 of 45

 

Last 4 digits of account number

5561

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
oO Unliquidated
O1 Disputed

$5,844.58

Type of NONPRIORITY unsecured claim:
O Student loans

0 At least one of the debtors and another

0 Check if this claim is for a community

debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims

je No CO Debts to pension or profit-sharing plans, and other similar debts

O ves Mother. Specity Credit card

 

 

List Others to Be Notified About a Debt That You Already Listed

5, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

Alltran Financial, L Line 4.34 of (Check one): D) Part 1: Creditors with Priority Unsecured Claims
PO BOX 4043 MB part 2: Creditors with Nonpriority Unsecured Claims
Concord, CA 94524

Last 4 digits of account number

5561

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.29 of (Check one): OO Part 1: Creditors with Priority Unsecured Claims

Wi part 2: Creditors with Nonpriority Unsecured Claims

Name and Address

Diane and Julian Murrieta
2967 Golden Trails St
Ontario, CA 91761-9157

Last 4 digits of account number nown

 

Name and Address
Landen Solutions, Inc.

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.27 of (Check one): C1 Part 1; Creditors with Priority Unsecured Claims

 

5984 Amethyst St Wl Part 2: Creditors with Nonpriority Unsecured Claims
Rancho Cucamonga, CA
91737-2210

Last 4 digits of account number NA
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Lorenzo Benavidez Line 4.27 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
5984 Amethyst St WB Par 2: Creditors with Nonpriority Unsecured Claims
Rancho Cucamonga, CA
91737-2210

Last 4 digits of account number NA

 

Name and Address

Montgomery, Little & Soran, PC
5445 Dtc Pkwy Ste 800

Greenwood Village, CO 80111-3053

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.22 of (Check one): 0) Part 1: Creditors with Priority Unsecured Claims

 

Wl Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number NA

 

Name and Address

Murr Siler & Accomazzo, PC
410 17th St Ste 2400
Denver, CO 80202-4411

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.3 of (Check one): 01 Part 1: Creditors with Priority Unsecured Claims

WB Part 2: Creditors with Nonpriority Unsecured Claims

0695

Last 4 digits of account number

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.10 of (Check one): O Part 1: Creditors with Priority Unsecured Claims

Name and Address

Radius Global Solutions, LLC
PO Box 390905

Minneapolis, MN 55439-0905

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IB part 2: Creditors with Nonpriority Unsecured Claims

Schedule E/F: Creditors Who Have Unsecured Claims Page 13 of 14

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page32 of 45

Debtor 1 Eliya, Susan Amina

Last 4 digits of account number

Case number (f known)

3523

 

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

6a.

Total claims

from Part 1 6b.
6c.
6d.

6e.

6f.
Total claims

from Part 2 6g.
6h.

6i.

6.

Official Form 106 E/F

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other, Add all other priority unsecured claims. Write that amount here.

Total Priority. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Other. Add all other nonpriority unsecured claims. Write that amount
here.

Total Nonpriority. Add lines 6f through 6i.

6a.

6b.
6c.

6e.

6f.

6g.
6h.

6i.

Gj.

 

 

 

 

 

Total Claim
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
Total Claim
$ 0.00
$ 0.00
$ 0.00
$ 3,429,166.89
$

 

3,429,166.89

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

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Page 14 of 14
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page33 of 45

Fill in this information to identify your case:
Debtor 1 Susan Amina Eliya
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
WI No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

2.1

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page34 of 45

Fill in this information to identify your case:
Debtor 1 Susan Amina Eliya
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

4. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

ONo
yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wi No. Go to line 3.
C1 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out

 

 

 

 

Column 2,
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1. Green Star Rising, Inc. O Schedule D, line
191 University Blvd # 227 M@ Schedule E/F, line 4.12
Denver, CO 80206-4613 0 Schedule G —__
Colorado Dept. of Public Health and Env.
3.2. Green Star Rising, Inc. 0) Schedule D, line
191 University Blvd # 227 @ Schedule E/F. line 4.16
Denver, CO 80206-4613 O Schedule G _
Gene Haun
3.3. Green Star Rising, Inc. O Schedule D, line
191 University Blvd # 227 M@ Schedule E/F, line 4.24
Denver, CO 80206-4613 C Schedule G ;
Loyd/Cynthia Stroup
Official Form 106H Schedule H: Your Codebtors Page 1 of 3

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page35 of 45

Debtor 1

=] Additional Page to List More Codebtors

Eliya, Susan Amina

Column 1: Your codebtor

Case number (if known)

 

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

 

 

 

 

 

 

 

3.4 Green Star Rising, Inc. O Schedule D, line
191 University Blvd # 227 M@ Schedule E/F, line 4.31
Denver, CO 80206-4613 CO Schedule G

Randall W.B. Purvis, Esq.

3.5 JSC Property Group, LLC O Schedule D, line
191 University Blvd # 227 M@ Schedule E/F, line 4.4
Denver, CO 80206-4613 O Schedule G

9 Figure Assets LLC

3.6 JSC Property Group, LLC O Schedule D, line
191 University Blvd # 227 M@ Schedule E/F, line 4.3
Denver, CO 80206-4613 O Schedule G

Aloha Capital, LLC

3.7 JSC Property Group, LLC O Schedule D, line
191 University Blvd # 227 M@ Schedule E/F, line 4.23
Denver, CO 80206-4613 C Schedule G a

Lou Barragan

3.8 JSC Property Group, LLC O Schedule D, line
191 University Blvd # 227 @ Schedule E/F, line 4.26
Denver, CO 80206-4613 OJ Schedule G

Montgomery, Little & Soran, PC

3.9 JSC Property Group, LLC OSchedule D, line
191 University Blvd # 227 M@ Schedule E/F, line 4.29
Denver, CO 80206-4613 O Schedule G oO

Preferred Trust IRA

3.10 JSC Property Group, LLC O) Schedule D, line
191 University Blvd # 227 M Schedule E/F, line 4.32
Denver, CO 80206-4613 O Schedule G —

Roy Lyons
3.11 JSC Property Group, LLC O Schedule D, line

191 University Blvd # 227
Denver, CO 80206-4613

WM Schedule E/F, line 4.33
O Schedule G
TJ Blevens

 

Official Form 106H

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Schedule H: Your Codebtors Page 2 of 3
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page36é of 45

Debtor 1 Eliya, Susan Amina Case number (if known)

 

 

Additional Page to List More Codebtors

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.12 Peak Property Group, LLC O Schedule D, line
191 University Blvd Unit 227 ® Schedule E/F, line 4.25

Denver, CO 80206-4613 Oj Schedule G

Midland Loan Servicing

 

3.13 Peak Property Group, LLC O Schedule D, line
191 University Blvd Unit 227 M@ Schedule E/F, line 4.26

Montgomery, Little & Soran, PC

 

3.14 Peak Property Group, LLC 0 Schedule D, line
191 University Blvd Unit 227 M@ Schedule E/F, line 4.29

Preferred Trust IRA

 

Denver, CO 80206-4613 O Schedule G

Official Form 106H Schedule H: Your Codebtors Page 3 of 3

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page37 of 45

Fill in this information to identify your case
Debtor 1 Susan Amina Eliya

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court forthe: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number Check if this is:

Nom 0 An amended filing

OC A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106] MM/DDIYYYY~
Schedule I: Your Income 12115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse

If you have more than one job, Employmerit stat Mi Employed @ Employed

attach a separate page with atUs

information about additional C1 Not employed CO Not employed

i aia Occupation Owner Owner

Include part-time, seasonal, or p

self-employed work. Employer's name Self Employed (real estate) Self-employed (real estate)

poupaton ey — student or Employer's address 2 Adams St Apt 705 2 Adams St Apt 705

‘ ‘ Denver, CO 80206-5721 Denver, CO 80206-5721

How long employed there? 9 years 9 years

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2, $ 0.00 § 0.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +5 0.00
4. Calculate gross Income. Add line 2 + line 3. 4. /$ 0.00 3 0.00

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page38 of 45

Debtor 1

10.

12.

13.

Official Form 1061

Eliya, Susan Amina

Copy line 4 here

List all payroll deductions:

5a.
5b.
5c.
5d.
5e.
5f.
5g.
5h.

Tax, Medicare, and Social Security deductions
Mandatory contributions for retirement plans
Voluntary contributions for retirement plans
Required repayments of retirement fund loans
Insurance

Domestic support obligations

Union dues

Other deductions. Specify:

 

Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.

Calculate total monthly take-home pay. Subtract line 6 from line 4.

List all other income regularly received:

8a.

8b.
8c.

8d.
8e.
8f.

8g.
8h.

Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income.

Interest and dividends

Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

Unemployment compensation

Social Security

Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

 

Pension or retirement income
Other monthly income. Specify:

 

Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.

Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.) $

Do you expect an increase or decrease within the year after you file this form?

a
O

Case number (/f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No.

For Debtor 1 For Debtor 2 or
non-filing spouse
4. $ 0.00 0.00
5a. $ 0.00 $ 0.00
5b. § 0.00 $ 0,00
5c. $ 0.00 $ 0.00
5d. $ 0.00 $ 0.00
5e. $ 0.00 $ 0.00
5f. §$ 0.00 $ 0.00
5g. $ 0.00 $ 0.00
5h.+ §$ 0.00 $ 0.00
6. §$ 0.00 $ 0.00
7. § 0.00 $ 0.00
8a § 2,500.00 $ 2,500.00
8b. $ 0.00 $ 0.00
&. §$ 0.00 $ 0.00
8d. § 0.00 $ 0.00
8e. §$ 0.00 $ 0.00
bf. $$ 0.00 $ 0.00
8g. §$ 0.00 $ 0.00
Bh.t+ $§ 0.00 $ 0.00
9. |$ 2,500.00 $ 2,500.00

$ 2,500.00 | +/ 3 2,500.00 | =| 5 5,000.00

11, +8 0.00

5,000.00

Combined

 

 

 

monthly income

 

Yes. Explain: |

Schedule I: Your Income

page 2

 

 

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page39 of 45

United States Bankruptcy Court
District of Colorado, Denver Division

 

 

 

IN RE: Case No.
Eliya, Susan Amina Chapter 7
Debtor(s)

BUSINESS INCOME AND EXPENSES

FINANCIAL REVIEW _OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
operation.)

PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

|. Gross Income For 12 Months Prior to Filing: $
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

2. Gross Monthly Income: $ 5,000.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

Net Employee Payroll (Other Than Debtor)
Payroll Taxes

Unemployment Taxes

Worker's Compensation

Other Taxes

. Inventory Purchases (Including raw materials)

. Purchase of Feed/Fertilizer/Seed/Spray

10. Rent (Other than debtor’s principal residence)
11. Utilities

12. Office Expenses and Supplies

13. Repairs and Maintenance

14. Vehicle Expenses

15. Travel and Entertainment

16. Equipment Rental and Leases

17. Legal/Accounting/Other Professional Fees

18. Insurance

19. Employee Benefits (e.g., pension, medical, etc.)
20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
Business Debts (Specify):

COND bY

AFF HHH OF FP SHS HHS

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A]

21. Other (Specify): $

22. Total Monthly Expenses (Add items 3-21) $
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2) $ 5,000.00

 

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page40 of 45

 

Fill in this information to identify your case

 

 

Debtor 1 Susan Amina Eliya Check if this is:
OO) Anamended filing
Debtor 2 OO Asupplement showing postpetition chapter 13
(Spouse, if filing) expenses as of the following date:
United States Bankruptcy Court forthe: DISTRICT OF COLORADO, DENVER DIVISION MM/DD/YYYY

 

Case number
(If known)

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Describe Your Household
1. Is this a joint case?

Hi No. Go to line 2.
0 Yes. Does Debtor 2 live in a separate household?

ONo
0 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Householdof Debtor 2.

2. Doyouhave dependents? MH No

Do not list Debtor 1 and O yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
EE es TE a ne ne

Do not state the ONo
dependents names. O Yes

O No
0 Yes
ONo
O yes
OONo
O Yes

     

 

 

 

 

3. Do your expenses include BNo
expenses of people other than oO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the

value of such assistance and have included it on Schedule |: Your Income
(Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage

payments and any rent for the ground or lot. 4. $ 2,672.00

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00

4b. Property, homeowner's, or renter’s insurance 4b, $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 192.66

4d. Homeowner's association or condominium dues 4d. $ 442.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20

Debtor1 Eliya, Susan Amina

6.

oN

Tits
12.

13.
14,
15.

16.

17.

19.

20.

21.

22.

23.

24.

Official Form 106J

Entered:07/27/20 18:22:38

Case number (if known)

 

 

 

 

 

 

 

 

 

Page41 of 45

 

 

 

 

 

Utilities:
6a. Electricity, heat, natural gas 6a. $ 50.00
6b. Water, sewer, garbage collection 6b. §$ 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 400.00
6d. Other. Specify: 6d. $ 0.00
Food and housekeeping supplies 7. §$ 1,000.00
Childcare and children’s education costs 8. $ 0.00
Clothing, laundry, and dry cleaning 9. $ 50.00
Personal care products and services 10. $ 50.00
Medical and dental expenses 11. $ 100.00
Transportation. Include gas, maintenance, b r train fare.
Do not include car payments. meres 12. $ 200.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 500.00
Charitable contributions and religious donations 14. $ 0.00
Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. §$ 500.00
15c. Vehicle insurance 15c. $ 450.49
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: car taxes 16. $ 30.00
Specify: Estimated Federal and state income tax $ 382.50
Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 874.78
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106)). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
Other: Specify. Gym membership 21. +8 200.00
Car Maintenance +$ 200.00
Hair cuts for husband +$ 15.00
Calculate your monthly expenses
22a. Add lines 4 through 21. $ 8,309.43
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 8,309.43
Calculate your monthly net income.
23a. Copy line 12(your combined monthly income) from Schedule |. 23a. § 5,000.00
23b. Copy your monthly expenses from line 22c above. 23b. -$ 8,309.43
23c. Subtract your monthly expenses from your monthly income.

The resultis your monthly net income. 23c. | $ -3,309.43

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

vo.

 

 

 

 

O Yes. | Explain here:

Schedule J: Your Expenses

page 2
Case:20-15060-EEB Doc#:1 Filed:07/27/20 Entered:07/27/20 18:22:38 Page42 of 45

Fill in this information to identify your case:
Debtor 1 Susan Amina Eliya
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B..............ceeecescecseesensceneeereeseesearcresesssuarsnereesnssnasenseestsesseesevans $ 685,000.00
1b. Copy line 62, Total personal property, from Schedule AVBo........ cc ccc cc cc ccceeeseceeceseeesessesscecterrseesersssnsaseenenrens $ 26,935.00
ic. Copy line 63, Total of all property on Schedule AUB... cccsssssssseeeeseeseesseneenersseseesereeeuseserssnasenseseesareanenseense $ 711,935.00
Summarize Your Liabilities
Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column AAmount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 444,417.54
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e dichedule E/F........ccccc cess eeeee $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j dichedule E/F................c0cce00- $ 3,429,166.89

 

Your total liabilities | $ 3,873,584.43

 

 

 

GEER Summarize Your Income and Expenses

4. Schedule |: Your Income(Official Form 1061)

Copy your combined monthly income from line 12 oSchedule /......... ceetteeteseeneeceee cocseeeeensees couceceeeenseeeeseeeeeeteseeeseeees $ 5,000.00

5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of Schedule J... eee ccccecceceeseeeseceneesesseesareesceseeeaneeneecnesenes $ 8,309.43

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
O_ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

OO $#Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C§ 159.

Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page43 of 45

Debtor1 Eliya, Susan Amina Case number (if known)

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

122A-1 Line 11;OR, Form 122B Line 11:;OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

 

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) 3 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

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page 2 of 2

 

 
Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page44 of 45

Fill in this information to identify your case:

 

 

 

Debtor 1 Susan Amina Eliya

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) OO Check if this is an

amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/15

 

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ana Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

mw No

Ol Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

x

 

 

Signature of Debtor 2

 

Date July 27, 2020 Date

 

 

 
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Case:20-15060-EEB Doc#:1 Filed:07/27/20 lEntered:07/27/20 18:22:38 Page45 of 45

United States Bankruptcy Court
District of Colorado, Denver Division

IN RE: Case No.

 

Eliya, Susan Amina Chapter 7
Debtor(s)

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.

Date: July 27, 2020 Signature:

 

Su Aggjna Eliya Debtor

Date: Signature:

 

Joint Debtor, if any

 
